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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           Case No. 20-21553-Civ-COOKE/GOODMAN

   PATRICK GAYLE, et al.,

          Petitioners-Plaintiffs, on behalf of
          themselves and those similarly situated,

   v.

   MICHAEL W. MEADE, et al.,

         Respondents-Defendants.
   ____________________________________/

        PETITIONERS’ WITNESS DISCLOSURE AND REQUEST FOR ASSISTANCE
             COORDINATING WITNESSES’ ATTENDANCE AT HEARING

          Petitioners hereby submit this disclosure of witnesses who may be called to testify at
   the June 2, 2020 hearing in this matter. As discovery is ongoing, Petitioners reserve the right
   to amend and/or supplement this disclosure, including in response to any disclosure or
   motion by Defendants.


              1. Deivys Perez Valladares (named plaintiff)
   Deivys Perez Valladares is expected to testify about his health and the conditions of detention,
   including without limitation the availability of healthcare, the ability to social distance,
   sleeping conditions, eating conditions, the availability of soap and personal protective
   equipment such as masks, and transfers.
   *Deivys Perez Valladares is currently detained by ICE. Petitioners request Respondents’ assistance to
   coordinate his attendance via Zoom at the hearing on June 2, 2020.


              2. Alejandro Ferrera Borges (named plaintiff)
   Alejandro Ferrera Borges is expected to testify about his health and the conditions of
   detention, including without limitation the availability of healthcare, the ability to social




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   distance, sleeping conditions, eating conditions, the availability of soap and personal
   protective equipment such as masks, and transfers.
   *Alejandro Ferrera Borges is currently detained by ICE. Petitioners request Respondents’ assistance to
   coordinate his attendance via Zoom at the hearing on June 2, 2020.


               3. Steve Cooper
   Steve Cooper is expected to testify about his health and the conditions of detention, including
   without limitation the availability of healthcare, the ability to social distance, sleeping
   conditions, eating conditions, the availability of soap and personal protective equipment such
   as masks.
   *Steve Cooper is currently detained by ICE. Petitioners request Respondents’ assistance to coordinate his
   attendance via Zoom at the hearing on June 2, 2020.


               4. Joseph Shin, M.D., MSc.
   Dr. Shin has reviewed the declarations in this case and may testify, based on his education
   and experience, about the significance of the conditions of detainment outlined in the
   declarations as it relates to the risk of infection and spread of COVID-19. His testimony will
   be consistent with his declaration previously submitted in this case.




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        Date: June 1, 2020
                                            Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE
          I hereby certify that on the 1st day of June, 2020, I electronically filed the foregoing
   with the Clerk of Court using the CM/ECF system, which will then send a notification of
   such filing (NEF) to all counsel of record.
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